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                IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, WESTERN DIVISION

DOMINIQUE HENDERSON, Individually                   )
and as Mother and Next Friend of ANTOINE            )
HENDERSON, a minor,                                 )
                                                    )
                            Plaintiff,              )
                                                    )
       v.                                           )                No.    20-50124
                                                    )
DEKALB COMMUNITY UNIT SCHOOL DISTRICT )
428; JAMIE CRAVEN, individually and as agent;       )
CRISTY MEYER, individually and as agent; TIM        )
VINCENT, individually and as agent; BRANT BOYER, )
individually and as agent; JOHN PANEK, individually )
and as agent; AMANDA BAUM, individually and as      )
agent; JENNIE GAMMELGAARD, individually and as )
agent; KYLE GERDES, individually and as agent;      )
SHARON CARANI, individually and as agent;           )
DOE BUS DRIVER, individually and as agent of        )
Dekalb Community Unit School District 428,          )
                                                    )
                            Defendants.             )

                                   NOTICE OF REMOVAL

       NOW COME Defendants, BOARD OF EDUCATION OF DEKALB COMMUNITY

UNIT SCHOOL DISTRICT 428, JAMIE CRAVEN, CRISTY MEYER, TIM VINCENT,

BRANT BOYER, JOHN PANEK, AMANDA BAUM, JENNIE GAMMELGAARD, KYLE

GERDES, SHARON CARANI, and DOE BUS DRIVER (collectively, “Defendants”), through

undersigned counsel, and hereby remove this action from the Circuit Court of DeKalb County,

Illinois pursuant to 28 U.S.C. § 1446(a). Defendants state the following in support of removal:

       1.      On February 28, 2020, Plaintiffs initiated this civil action by filing a Complaint at

Law in the Circuit Court of DeKalb County, case no. 2020 L 00020. The Board was served with

the Summons and Complaint on March 18, 2020. Copies of all process, pleadings, and orders

served upon Defendants are attached as Exhibit A.
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       2.      The Complaint is comprised of seven counts, each stemming from Plaintiff’s

allegations that her minor student was the victim of harassment and bullying by other students at

Clinton Rosette Middle School during the 2018-19 school year.

       3.      Counts VI and VII seek money damages pursuant to 42 U.S.C. § 1983. (Ex. A,

pgs. 18-22).

       4.      Count VI is a Monell claim pursuant to 42 U.S.C. § 1983. It alleges that

Defendants violated the minor student’s rights to equal protection and due process under the

Fourteenth Amendment by not preventing, investigating, or properly disciplining incidents of

bullying. (Ex. A, pgs. 18-20.)

       5.      Count VII is a substantive due process claim pursuant to 42 U.S.C. § 1983. It

alleges that Defendants violated the minor student’s rights to equal protection and due process

under the Fourteenth Amendment by denying him equal access to all of the benefits and

privileges of a public education. (Ex. A, pgs. 20-22.)

       6.      The Complaint asserts claims under federal law and prays for relief pursuant to 42

U.S.C. § 1983. Therefore, this action falls within the original jurisdiction of the federal courts

pursuant to 28 U.S.C. § 1331 and may be removed pursuant to 28 U.S.C. §§ 1441(a) and

1446(b)(3).

       7.      The remaining claims in Counts I through V are premised on the same underlying

factual allegations and assert causes of action against Defendants under Illinois law. These

claims therefore form part of the same case or controversy as the federal claims and fall within

the Court’s supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a).




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       WHEREFORE, this action is removable to this Court under 28 U.S.C. §§ 1441(a) and

1446(b)(3), and Defendants remove this action to this Court.

                                            Respectfully submitted,

                                            By:     /s/ Babak Bakhtiari
                                                    Attorney for Defendants
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                                 CERTIFICATE OF SERVICE

Babak Bakhtiari, an attorney, hereby certifies that a true and correct copy of the foregoing
Notice of Removal was sent on April 9, 2020, by electronic mail, addressed to the following:

           Antonio L. Jeffrey
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                                           By:    /s/ Babak Bakhtiari
                                                  Attorney for Defendants

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